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October 16, 2013

Honorable George L. Russell, HI
United States District Judge
District of Maryland

101 West Lombard Street
Baltimore, Maryland, 21201

Re: — Crystal Blankenship vs. Black & Decker (U.S.) Inc. et al
Civil Action No. GLR-13-2522

Dear Judge Russell,

Per your order dated October 15, 2013, the parties jointly submit this letter and address the seven
points set forth below.

1. Whether the parties object to having the case transferred to a U.S. Magistrate Judge for
all further proceedings.

There is not unanimous consent to have case transferred to a U.S. Magistrate Judge for all
further proceedings.

2. Whether you would like to participate in a settlement conference either before or after the
completion of discovery.

 

 

The parties believe third-party mediation or a settlement conference after the completion of
discovery would be beneficial.

3. Whether discovery of electronically stored information is expected to be problematic;

The parties have no expectation that discovery of electronically store information will be
problematic.

4, Whether you would like to defer any of the expert discovery until after summary
judgment motions are resolved.
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The parties do not believe this is necessary.
5. Any changes to the dates in the preliminary scheduling order;

March 3, 2014 Moving for joinder of additional parties and amendment of
pleadings

March 17, 2014 Plaintiff's Rule 26(a)(2) disclosures

April 28, 2014 Defendant’s Rule 26(a)(2) disclosures

May 12, 2014 Plaintiffs rebuttal Rule 26(a) (2) disclosures

May 19, 2014 Rule 26(e)(2) supplementation of disclosures and responses
May 29, 2014 Discovery deadline; submission of status report

June 5, 2014 Request for Admission

June 30, 2014 Dispositive pretrial motions deadline

6. Whether the allocated deposition hours are sufficient, and
The allocated deposition hours are sufficient.
7. Setting a trial date on the Court’s calendar and determining its likely duration.

The parties request a trial in October 2014 and expect such a trial will last 7-10 days.

Respectfully submitted,

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- Lindsey M. Craig

cc: Dan Lanier
